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 8                         UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA
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11   RALPH COLEMAN, et al.,                 No. CIV. S-90-520 LKK/DAD (PC)
12                  Plaintiffs,
13         v.                               ORDER
14   EDMUND G. BROWN, JR., et al.,
15                  Defendants.
16

17         On May 29, 2013, plaintiffs filed a motion for enforcement

18   of court orders and affirmative relief related to use of force

19   and disciplinary measures against members of the plaintiff class.

20   (ECF No. 4638)     Evidentiary hearing on plaintiffs’ motion was

21   conducted over a period which commenced on October 1, 2013 and

22   continued over fourteen court days, concluding on November 6,

23   2013.1     Following filing of closing briefs by the parties, the

24   matter was submitted for decision.2

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       Approximately five of those days were spent on testimony related to
27   plaintiffs’ motion concerning access to inpatient hospital care for inmates on
     death row (ECF No. 4543). That motion has been resolved by separate order.
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       By separate order, submission of the motion has been vacated.
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 1         Defendants’ written policy governing use of force is found
 2   at 15 C.C.R. §§ 3268-3268.3 and at § 51020 of the California
 3   Department of Corrections and Rehabilitations (CDCR) Department
 4   Operations Manual (D.O.M.).       Reporter’s Transcript Re:
 5   Evidentiary Hearing (RT) at 801:5-16.          At the evidentiary
 6   hearing, Michael Stainer, then Acting Director for CDCR’s
 7   Division of Adult Institutions3, testified concerning a process
 8   that was underway to revise some of the use of force provisions
 9   in the D.O.M.     See, e.g., RT at 811:1-19; 825:11-826:25; 919:1-
10   925:19.    On January 21, 2014, defendants filed a declaration from
11   Mr. Stainer to which is appended revisions to the use of force
12   provisions of the D.O.M.       Decl. of    Stainer and Ex. A thereto,
13   filed January 21, 2014 (ECF Nos. 4987 and 4987-1).            Therein, Mr.
14   Stainer avers that the revisions have been finalized and “will be
15   fully implemented in the next 60 to 90 days following the
16   development and completion of staff training on the revisions.”
17   Decl. of Stainer (ECF No. 4987) at ¶ 2.
18         Good cause appearing IT IS HEREBY ORDERED that:
19         1. Within twenty days from the date of this order,
20             plaintiffs shall file a brief addressing how, in their
21             view, the new D.O.M provisions bear on issues raised in
22             their May 29, 2013 motion.      Defendants may file a
23             responsive brief within ten days thereafter.
24         2. Within thirty days from the date of this order defendants
25             shall file evidence of their plan for implementing the
26             new D.O.M. provisions, including but not limited to staff
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       On November 19, 2013, Mr. Stainer was sworn in as lead director of CDCR’s
28   Division of Adult Institutions. RT at 3268:14-21.
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 1            training plans and any other directives that have been or
 2            may be issued.    Defendants shall also inform the court in
 3            writing of how they plan to ensure and enforce compliance
 4            with the new D.O.M. provisions and shall file, as
 5            appropriate, affidavits or other evidence that bears on
 6            these matters.
 7         3. Within twenty days after the filing referred to in
 8            paragraph 2 of this order, plaintiffs shall file a brief
 9            addressing how, in their view, the documents filed by
10            defendants in response to that order bear on issues
11            raised in the May 29, 2013 motion.        Defendants may file a
12            responsive brief within ten days thereafter.
13         DATED:   January 23, 2014.
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